IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF NORTH CAROLINA
ASHEVILLE DIVISION
CASE NUMBER 1:20CV66

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CARYN DEVINS STRICKLAND,

Plaintiff,

Vv.

UNITED STATES OF AMERICA, et al.,

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Defendants. dileitminctD mn, oy

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DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO UNS

PLAINTIFF’S PROPOSED FINDINGS OF FACT AND CONCLUSIONS OF LAW
Throughout this litigation, Plaintiff has unsuccessfully attempted to rely upon confidential,

unproven allegations from four other employees’ Employment Dispute Resolution (“EDR”) filings.
At trial, the Court excluded this evidence, which was contained in Exhibit BB, holding that the
complaints were not relevant and amounted to inadmissible hearsay. ECF No. 429 at 222 n.117.

On April 25, 2024, after trial concluded but before the Court issued its Findings of Fact and
Conclusions of Law, Plaintiff challenged Defendants’ confidentiality designation of Exhibit BB. See
ECF No. 412. The Court denied her request, holding that the motion was “woefully late” and taking
into consideration the “[t]he privacy interests of all parties and non-parties[.}” ECF No. 414. The
Court also instructed Plaintiff to file her Proposed Findings of Fact—which contains large excerpts
from Exhibit BB—under seal. See id.

Now, Plaintiff seeks to relitigate the Court’s prior ruling. She asks the Court to order the
unsealing of her Proposed Findings of Fact and Conclusions of Law or redact only identifying
information. Her motion should thus be construed as a motion for reconsideration. And because
Plaintiff fails to identify any error justifying reversal of the Court’s decision—and instead merely
rehashes issues already decided—she has not met the “high bar” necessary for reconsideration. See
Bezek v. First Nat'l Bank of Pa., No. SAG-17-2902, 2023 WL 2571508, at *2 (D. Md. Mar. 20, 2023).
Plaintiff's motion should also be denied for the additional reason that the privacy interest in

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